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7                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
8                               SOUTHERN DIVISION
9
     POWER ANALYTICS                            Case No. 8:16-cv-01955-JAK (FFMx)
10 CORPORATION,

11                      Plaintiff,              PROTECTIVE ORDER AFTER
                                                HEARING
12
                 v.
13
     OPERATION TECHNOLOGY, INC.,
14 d/b/a ETAP, OSISOFT LLC, and
     SCHNEIDER ELECTRIC USA, INC.,
15

16                       Defendants.

17

18         Having reviewed the submissions of the parties, the Court enters the
19   following protective order to cover discovery in these proceedings:
20

21         To expedite the flow of discovery material, to facilitate the prompt
22
     resolution of disputes regarding the over-designated confidentiality of discovery
23
     materials, to adequately protect information the parties are entitled to keep
24
     confidential, to ensure that only materials the parties are entitled to keep
25

26   confidential are subject to such treatment, and to ensure that the parties are
27   permitted reasonably necessary uses of such materials in preparation for and in the
28   conduct of trial, pursuant to Fed. R. Civ. P. 26(c), it is hereby ORDERED THAT
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1                     INFORMATION SUBJECT TO THIS ORDER
2             1.   For purposes of this Protective Order (“Order”), “CONFIDENTIAL”
3    information shall mean all non-public information, material, documents, or
4    electronically stored information that is produced for or disclosed, either through
5    the formal discovery process, with a pleading or motion, or informally in this
6    litigation; that has been disclosed to a party that requests or receives Protected
7    Material (a “Receiving Party”); and the party that possesses, owns, or otherwise
8    controls the Protected Material requested by the Receiving Party (a “Producing
9    Party”), including any party to this action and any non-party producing
10   information or material voluntarily or pursuant to a subpoena or a court order,
11   considers the information to constitute or to contain non-public business, financial,
12   technical, operations, development, commercial, or other non-public information,
13   whether embodied in physical objects, documents, or the factual knowledge of
14   persons, the disclosure of which could reasonably result in detriment to the
15   Producing Party or person; and which has been so designated by the Producing
16   Party.
17            2.   For purposes of this Order, “HIGHLY CONFIDENTIAL–OUTSIDE
18   COUNSEL ONLY” information shall mean CONFIDENTIAL INFORMATION
19   that constitutes or contains (a) commercially sensitive marketing, financial, sales,
20   research and development, or technical data or information; (b) commercially
21   sensitive competitive information, including, without limitation, information
22   obtained from a non-party pursuant to a current Nondisclosure Agreement
23   (“NDA”); (c) information or data relating to future products not yet commercially
24   released and/or strategic plans; (d) commercial agreements, settlement agreements,
25   or settlement communications, the disclosure of which is likely to cause harm to
26   the competitive position of the Producing Party; (e) trade secrets, pricing
27   information, sales or marketing forecasts or plans, business plans, sales or
28   marketing strategy, product development information, engineering documents,

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1    testing documents, employee information, customer lists, and other non-public
2    information of similar competitive and business sensitivity; and (f) information
3    that is likely to cause economic harm or significant competitive disadvantage to
4    the Producing Party if disclosed. In determining whether information should be
5    designated as HIGHLY CONFIDENTIAL–OUTSIDE COUNSEL ONLY, each
6    party agrees to use such designation only when necessary pursuant to the terms
7    herein.
8          3.    For purposes of this Order, “Protected Material” shall encompass any
9    documents or information designated as CONFIDENTIAL, HIGHLY
10   CONFIDENTIAL-OUTSIDE COUNSEL ONLY, or HIGHLY CONFIDENTIAL-
11   OUTSIDE COUNSEL ONLY-SOURCE CODE pursuant to this Order.
12         4.    The following information is not Protected Material:
13               a.     any information that at the time of disclosure to a Receiving
14                      Party is already lawfully in the public domain through no fault
15                      of the Receiving Party;
16               b.     any information that after disclosure to a Receiving Party
17                      lawfully becomes part of the public domain as a result of
18                      publication not involving a violation of this Order;
19               c.     any information that a Receiving Party can show was received
20                      by it, whether before or after the disclosure, from a source who
21                      obtained the information lawfully and was under no obligation
22                      of confidentiality to the Producing Party; or
23               d.     any information that a Receiving Party can show was
24                      independently developed by it or by personnel who have not
25                      had access to the Producing Party’s Protected Material.
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1     DESIGNATION OF INFORMATION AS CONFIDENTIAL, OR HIGHLY
2                     CONFIDENTIAL-OUTSIDE COUNSEL ONLY
3          5.       The Producing Party’s designation of information as
4    CONFIDENTIAL or HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY
5    means that the Producing Party believes in good faith, upon reasonable inquiry,
6    that the information qualifies as such.
7          6.       Any document, electronically stored information, or tangible thing
8    containing or including any CONFIDENTIAL or HIGHLY CONFIDENTIAL-
9    OUTSIDE COUNSEL ONLY information may be designated as such by the
10   Producing Party by placing the appropriate designation on every page of the
11   written material prior to production. For digital files being produced in native
12   format, the Producing Party shall mark each viewable page or image with the
13   appropriate designation when possible, and the Producing Party shall mark the
14   medium, container, and/or communication in which the digital files are produced.
15   For electronic documents produced in native form which cannot be marked with
16   the appropriate designation, the Producing Party shall embed the confidentiality
17   designation in the metadata, document title, or production load file, and shall mark
18   the medium, container, and/or communication in which the digital files were
19   contained. No electronic file, folder or disk will be designated in its entirety as
20   CONFIDENTIAL or HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY
21   based on only some of the documents therein being entitled to such a designation.
22         7.       In the case of interrogatory answers and the information contained
23   therein, designation shall be made by marking the first page and all subsequent
24   pages containing the Protected Material with the appropriate confidentiality
25   designation.
26         8.       The original and all copies of any deposition transcript and video
27   record shall be marked CONFIDENTIAL or HIGHLY CONFIDENTIAL-
28   OUTSIDE COUNSEL ONLY by the reporter, and shall thereafter be treated in

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1    accordance with the terms of this Order, if an attorney states on the record at the
2    deposition that the information is CONFIDENTIAL or HIGHLY
3    CONFIDENTIAL-OUTSIDE COUNSEL ONLY or by advising the opposing
4    party and the stenographer and videographer in writing, within fourteen days after
5    the deposition and before the transcript has been distributed by the stenographer
6    and videographer, that the information is CONFIDENTIAL or HIGHLY
7    CONFIDENTIAL-OUTSIDE COUNSEL ONLY. In the event the transcript
8    and/or video record has been distributed within the 14-day period, the parties will
9    mark the original and copies of the transcript and record in their possession as
10   designated. Deposition transcripts, in their entirety, and any video record shall be
11   treated by default as CONFIDENTIAL until the expiration of the time to make a
12   confidentiality designation or the making of a confidentiality designation,
13   whichever occurs first.
14         9.     All Protected Material not reduced to documentary, tangible or
15   physical form or that cannot be designated as set forth in Paragraphs 6-8, shall be
16   designated by informing the Receiving Party of the designation in writing. To the
17   extent the Receiving Party subsequently generates copies of this information,
18   whether electronic or hard-copy, it shall mark such copies with the appropriate
19   confidentiality designations.
20         10.    When documents are produced in electronic form, the Producing
21   Party shall include a confidentiality designation on the medium containing the
22   documents. If a Receiving Party uses a hard-copy of a native format document,
23   the Receiving Party shall mark each such page of such document with the
24   applicable confidentiality designation.
25         11.    A Producing Party’s failure to designate a document, thing, or
26   testimony as CONFIDENTIAL or HIGHLY CONFIDENTIAL-OUTSIDE
27   COUNSEL ONLY does not constitute forfeiture of a claim of confidentiality as to
28   any document, thing, or testimony. The Producing Party may immediately, upon

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1    discovery, inform the Receiving Party of the CONFIDENTIAL or HIGHLY
2    CONFIDENTIAL-OUTSIDE COUNSEL ONLY nature of the disclosed
3    information, and the Receiving Party shall treat the disclosed information as
4    CONFIDENTIAL or HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY
5    information upon receipt of written notice from the Producing Party. The
6    Receiving Party shall not be held liable to the Producing Party for having
7    previously disclosed such re-designated information, but shall be obligated to
8    undertake reasonable efforts to retrieve any previously disclosed, re-designated
9    information.
10         12.      A Producing Party who has designated information as
11   CONFIDENTIAL or HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY
12   may withdraw the designation by written notification to all receiving parties who
13   received a copy of the designated information.
14            PERSONS AUTHORIZED TO REVIEW CONFIDENTIAL
15                                      INFORMATION
16         13.      Protected Material designated CONFIDENTIAL and information
17   contained therein shall be available only to the Producing Party and to the
18   following persons, except upon receipt of the prior written consent of the
19   Producing Party, or upon order by the Court:
20                  a.    Outside litigation counsel of record and supporting personnel
21                        employed by the law firm(s) of outside litigation counsel of
22                        record, such as attorneys, paralegals, legal translators, legal
23                        secretaries, legal clerks, shorthand reporters or others assisting
24                        litigation counsel of record, including any independent data
25                        processing, production and review vendors to whom it is
26                        reasonably necessary to disclose the information for this
27                        litigation;
28   ///

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1               b.    Outside consultants, as defined in Paragraph16, subject to the
2                     provisions of Paragraphs 17-21, and who have signed and
3                     provided the form attached hereto as Attachment A.;
4               c.    The Court, its personnel and stenographic reporters (under seal
5                     or with other suitable precautions determined by the Court);
6               d.    Subject to Paragraph 21, independent legal translators retained
7                     to translate in connection with this action; independent
8                     stenographic reporters and videographers retained to record and
9                     transcribe testimony in connection with this action; graphics,
10                    translation, or design services retained by counsel for purposes
11                    of preparing demonstrative or other exhibits for deposition,
12                    trial, or other court proceedings in the actions; persons or
13                    entities that provide litigation support services such as
14                    photocopying, preparing exhibits or demonstrations,
15                    organizing, storing, retrieving data in any form or medium;
16              e.    Any mediator who is assigned by the Court or by mutual
17                    agreement of the parties to hear this matter, and his or her staff,
18                    subject to their agreement to maintain confidentiality to the
19                    same degree as required by this Protective Order;
20              f.    An author, signatory, prior recipient, or the original source of
21                    the Protected Material. Such person shall be given access only
22                    to the specific document or information therein, such as during
23                    a deposition in accordance with the provisions of Paragraph 27;
24              g.    Subject to Paragraph 21, jury consultants or trial consultants
25                    retained by or on behalf of a party to assist outside counsel for
26                    any party in connection with this litigation, together with
27                    technicians, assistants, or mock jurors who are (1) supervised
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1                        by such consultants and (2) subject to a written obligation of
2                        confidentiality; and
3                 h.     Up to two in-house counsel employed by a party, who are
4                        members of at least one state bar in good standing (or a foreign
5                        equivalent thereof), and up to two technical or business
6                        personnel, to whom disclosure is reasonably necessary for
7                        purposes of this litigation. Each in-house counsel and technical
8                        or business personnel must execute the form attached hereto as
9                        Attachment A.
10         PERSONS AUTHORIZED TO REVIEW HIGHLY CONFIDENTIAL-
11                     OUTSIDE COUNSEL ONLY INFORMATION
12          14.   Protected Material Designated “HIGHLY CONFIDENTIAL-
13   OUTSIDE COUNSEL ONLY” and information contained therein shall be
14   available only to the persons or entities listed in Paragraph 13(a)-(g).
15                a.     Prosecution Bar. Absent written consent from the Producing
16                       Party, any individual who receives access to HIGHLY
17                       CONFIDENTIAL-OUTSIDE COUNSEL ONLY or HIGHLY
18                       CONFIDENTIAL-OUTSIDE COUNSEL ONLY-SOURCE
19                       CODE information shall not be involved in the prosecution of
20                       patents or patent applications related to software used in the
21                       operation of electric power distribution systems and historian
22                       software (software that collects operational and processing data
23                       from devices attached to an electric power distribution system
24                       and stores this information in a time series database historian)
25                       relating to such systems including, without limitation, the
26                       patents asserted in this action and any patent or application
27                       claiming priority to or otherwise related to the patents asserted
28   ///

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1                     in this action, before any foreign or domestic agency, including
2                     the United States Patent and Trademark Office.
3                     (i)   Exception. The foregoing prosecution bar does not
4                           apply as to product information that has been provided to
5                           customers or prospective customers or to information
6                           that is or has been publicly available even if such
7                           information has been designated as HIGHLY
8                           CONFIDENTIAL-OUTSIDE COUNSEL ONLY.
9                           However, the exception does not apply to information
10                          designated as HIGHLY CONFIDENTIAL-OUTSIDE
11                          COUNSEL ONLY-SOURCE CODE or extend to
12                          HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL
13                          ONLY information that has not been provided to
14                          customers or prospective customers and is not and has
15                          never been publicly available.
16              b.    Prosecution. For purposes of this paragraph, “prosecution”
17                    includes directly or indirectly drafting, amending, advising, or
18                    otherwise affecting the scope or maintenance of patent claims,
19                    including in the original prosecution, and any inter partes
20                    review. Prosecution does not include representing a party
21                    challenging a patent before a domestic or foreign agency
22                    (including, for example, an inter parties review). This
23                    Prosecution Bar shall begin when access to HIGHLY
24                    CONFIDENTIAL-OUTSIDE COUNSEL ONLY or HIGHLY
25                    CONFIDENTIAL-OUTSIDE COUNSEL ONLY-SOURCE
26                    CODE information is first received by the affected individual
27                    and shall end one (1) year after final termination of this action.
28   ///

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1                                 OUTSIDE CONSULTANTS
2           15.      Protected Materials, and such copies as are reasonably necessary for
3    maintaining, defending or evaluating this litigation, may be furnished and
4    disclosed to outside consultants retained for purposes of this litigation.
5           16.      The term “outside consultant” shall mean any outside person (who is
6    not a current or former employee of the retaining party) and include their
7    engineering, technical, accounting, financial or other support personnel, including,
8    but not limited to, a proposed expert witness or consultant with whom counsel
9    may deem it necessary to consult concerning technical, financial, or other aspects
10   of this case.
11          17.      A Receiving Party desiring to disclose Protected Materials to a
12   technical outside consultant, shall first give written notice to the Producing Party
13   that it desires to disclose such information to such person(s), and thereafter the
14   Producing Party shall have three (3) business days after such notice is given to
15   object in writing. The party desiring to disclose the Protected Material to a
16   technical outside consultant shall provide to the Producing Party the curriculum
17   vitae of each technical outside consultant, a signed copy of the Agreement found
18   in Attachment A from each technical outside consultant, and shall also include the
19   following information about each technical outside consultant in the written
20   notice:
21                   a.    Current employer;
22                   b.    Business address and employer’s address if not the same;
23                   c.    Business title;
24                   d.    Business or profession;
25                   e.    Any previous or current relationship (personal, profession, or
26                         the employer’s) with any of the parties; and
27                   f.    For the preceding four years, a listing of the cases in which the
28                         individual has testified (at trial or deposition), all companies for

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1                          which the individual has worked or provided any consulting
2                          services, either directly or through a consulting firm, and all
3                          companies by which the individual has been employed.
4          18.    A Receiving Party desiring to disclose Protected Materials to a
5    financial outside consultant, shall first give written notice to the Producing Party
6    that it desires to disclose such information to such person(s), and thereafter the
7    Producing Party shall have three (3) business days after such notice is given to
8    object in writing. The party desiring to disclose the Protected Material to a
9    financial outside consultant shall provide to the Producing Party the curriculum
10   vitae of each lead financial outside consultant, a signed copy of the Agreement
11   found in Attachment A from each lead financial outside consultant, and shall also
12   include the following information about each lead financial outside consultant in
13   the written notice:
14                a.       Current employer;
15                b.       Business address and employer’s address if not the same;
16                c.       Business title;
17                d.       Business or profession;
18                e.       Any previous or current relationship (personal, profession, or
19                         the employer’s) with any of the parties; and
20                f.       For the preceding four years, a listing of the cases in which the
21                         individual has testified (at trial or deposition), all companies for
22                         which the individual has worked or provided any consulting
23                         services, either directly or through a consulting firm, and all
24                         companies by which the individual has been employed.
25         19.    No Protected Material shall be disclosed to any such outside
26   consultant until after the expiration of the foregoing notice period unless written
27   consent to such disclosure is provided by the Producing Party prior to the
28   expiration of the foregoing notice period.

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1          20.    If, however, during the notice period the Producing Party serves an
2    objection upon the Receiving Party desiring to disclose Protected Material to the
3    outside consultant, and identifies in particular the nature of the Protected Material
4    that it objects to disclosure and the reasons for the objection, there shall be no
5    disclosure of the Protected Material so identified as the subject of objection to
6    such outside consultant pending resolution of the objection. The Producing Party
7    objecting to disclosure of Protected Material to the outside consultant shall provide
8    an explanation of the basis of its objection, and consent to the disclosure of
9    Protected Material to the outside consultant shall not be unreasonably withheld. If
10   a Producing Party objects to the disclosure of Protected Material to an outside
11   consultant, the Receiving Party shall then have three (3) business days after such
12   objection is served to respond to the objection. The Producing Party shall then
13   have three (3) business days after such response is served to file an objection with
14   the Court and seek a protective order to prevent the disclosure of Protected
15   Material to the proposed outside consultant or other appropriate relief, if the
16   parties cannot come to an agreement. The Producing Party shall bear the burden
17   of establishing that the objectionable outside consultant should not have access to
18   the Producing Party’s Protected Material. No Protected Material shall be provided
19   to the proposed outside consultant until after resolution of the objection either by
20   the parties or by the Court. If the Producing Party fails to file an objection with
21   the Court within the prescribed period, then any objection to the outside consultant
22   is waived, and any Protected Material may be thereafter disclosed to such outside
23   consultant. No document designated by a Producing Party as Protected Material
24   information shall be disclosed by a Receiving Party to an outside consultant until
25   after the applicable outside consultant has signed the Confidentiality Agreement
26   appended hereto as Attachment A. Such agreement shall be retained by counsel
27   for the Receiving Party.
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1          21.    A Receiving Party desiring to disclose Protected Materials to an
2    outside consultant shall first require such financial outside consultant to execute
3    the Agreement found in Attachment A. Such executed agreement shall be retained
4    by counsel for the Receiving Party.
5          22.    Only the parties to this litigation may invoke the notice provisions in
6    Paragraphs 17-20 regarding outside consultants.
7            CHALLENGES TO CONFIDENTIALITY DESIGNATIONS
8          23.    The parties will use reasonable care when designating documents or
9    information as CONFIDENTIAL or HIGHLY CONFIDENTIAL-OUTSIDE
10   COUNSEL ONLY information. Nothing in this Order shall prevent a Receiving
11   Party from contending that any documents or information designated as
12   CONFIDENTIAL, HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY, or
13   HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY-SOURCE CODE
14   information have been improperly designated. A Receiving Party may at any time
15   request that the Producing Party cancel or modify the confidentiality designation
16   with respect to any document or information contained therein.
17         24.    A party shall not be obligated to challenge the propriety of any
18   CONFIDENTIAL, HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY, or
19   HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL ONLY-SOURCE CODE
20   designation at the time it receives the Protected Material, and a failure to do so
21   shall not preclude a subsequent challenge thereto. Such a challenge shall be
22   written, shall be served on counsel for the Producing Party, and shall particularly
23   identify the documents or information that the Receiving Party contends was
24   improperly designated. The parties shall use their best efforts to promptly and
25   informally resolve such disputes. If agreement cannot be reached, the Receiving
26   Party may request that the Court revoke or modify a CONFIDENTIAL, HIGHLY
27   CONFIDENTIAL-OUTSIDE COUNSEL ONLY, or HIGHLY CONFIDENTIAL-
28   OUTSIDE COUNSEL ONLY-SOURCE CODE designation. Any such request

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1    must fully comply with Local Rule 37. The party or parties producing the
2    designated documents shall have the burden of establishing that the disputed
3    documents are entitled to confidential treatment. Until such a dispute is resolved,
4    either by the parties or by direction of the Court, the Receiving Party shall
5    continue to treat the information at issue consistent with its current confidentiality
6    designation under this Order. A party’s failure to contest a designation of
7    information as CONFIDENTIAL, HIGHLY CONFIDENTIAL-OUTSIDE
8    COUNSEL ONLY, or HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL
9    ONLY-SOURCE CODE is not an admission that the information was properly
10   designated as such.
11             LIMITATIONS ON THE USE OF PROTECTED MATERIAL
12            25.   Any Protected Material obtained by any Receiving Party from any
13   Producing Party in this litigation or other person shall be used only for purposes of
14   this litigation and any appeals therefrom, and may not be used for any other
15   purpose, such as use in other litigation or for any business purpose.
16            26.   Protected Material shall be held in confidence by each person to
17   whom it is disclosed. Such information shall not be disclosed to any person who
18   is not entitled to receive such information as herein provided. All Protected
19   Material shall be carefully maintained so as to preclude access by persons who are
20   not entitled to receive such information. However, nothing in this Order shall
21   prevent any court reporter, videographer, mediator or their employees, or the
22   Court, any employee of the Court or any juror from reviewing any evidence in this
23   case for the purpose of these proceedings. Further, nothing in this Order shall
24   impact the admissibility of any document or other evidence at any hearing or at
25   trial.
26            27.   Except as may be otherwise ordered by the Court, any person may be
27   examined as a witness at depositions and trial and may testify concerning any
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1    Protected Material of which such person has prior knowledge. Without in any
2    way limiting the generality of the foregoing:
3                 a.    A present director, officer, and/or employee of a Producing
4                       Party may be examined and may testify concerning all
5                       Protected Material which has been produced by that party;
6                 b.    A former director, officer, agent and/or employee of a
7                       Producing Party may be interviewed and examined, and may
8                       testify concerning any Protected Material that refers to matters
9                       which the interviewer, examiner or questioner believes are
10                      within the personal knowledge of the witness, which has been
11                      produced by that party, and which pertains to the period or
12                      periods of his or her employment or other involvement with the
13                      party; and
14                c.    Non-parties may be examined or testify concerning any
15                      Protected Material of a Producing Party which appears on its
16                      face or from other documents or testimony to have been
17                      received from or communicated to the non-party as a result of
18                      any contact or relationship with the Producing Party, or a
19                      representative of such Producing Party. Any person other than
20                      the witness, his or her attorney(s), and any person qualified to
21                      receive Protected Material under this Order shall be excluded
22                      from the portion of the examination concerning such
23                      information, unless the Producing Party fails to object to
24                      persons other than qualified recipients being present at the
25                      examination. If the witness is represented by an attorney who
26                      is not qualified under this Order to receive such information,
27                      then prior to the portion of the examination relating to such
28                      information, the attorney shall be requested to provide a signed

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1                       Confidentiality Agreement, in the form of Attachment A hereto
2                       In the event that such attorney declines to sign such a
3                       Confidentiality Agreement, prior to the examination, the
4                       parties, by their attorneys, shall jointly seek a protective order
5                       from the Court prohibiting such attorney from disclosing such
6                       Protected Material.
7          28.    All transcripts of depositions, exhibits, answers to interrogatories,
8    pleadings, briefs, and other documents submitted to the Court which include
9    Protected Material or which contain information so designated, shall be submitted
10   for filing under seal pursuant to the provisions of Local Rule 79.
11         29.    Nothing in this Order shall prohibit the transmission or
12   communication of Protected Material between or among qualified recipients:
13                a.    by hand-delivery;
14                b.    in sealed envelopes or containers via the mails or an established
15                      freight, delivery, or messenger service; or
16                c.    by telephone, telegraph, facsimile, email or other electronic
17                      transmission system, where, under the circumstances, there is
18                      no reasonable likelihood that the transmission will be
19                      intercepted or misused by any person who is not a qualified
20                      recipient.
21                         PRODUCTION OF SOURCE CODE
22         30.    All source code produced in this litigation (“Designated Code”) shall
23   be subject to the same restrictions as information designated as HIGHLY
24   CONFIDENTIAL-OUTSIDE COUNSEL ONLY provided that the producing
25   party designates such code HIGHLY CONFIDENTIAL-OUTSIDE COUNSEL
26   ONLY-SOURCE CODE. Only the code itself shall be so marked. Descriptions or
27   summaries of the Designated Code shall not be marked as HIGHLY
28   CONFIDENTIAL-OUTSIDE COUNSEL ONLY-SOURCE CODE. The

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1    following additional restrictions shall apply to Designated Code. Designated Code
2    shall not include any machine readable code such as executable program files
3    which shall not be governed by these provisions regarding the production of
4    source code.
5          31.      Any Designated Code made available for inspection in discovery
6    shall be made available in a format allowing it to be reasonably reviewed and
7    searched, during normal business hours or at other mutually agreeable times, at an
8    office of the Producing Party’s counsel or another mutually agreed upon location.
9    The Designated Code shall be made available for inspection on a secured
10   computer in a secured room without Internet access or network access to other
11   computers (“Source Code Computer”), and the Receiving Party shall not copy,
12   remove, or otherwise transfer any portion of the Designated Code onto any
13   recordable media or recordable device. The Producing Party may visually monitor
14   the activities of the Receiving Party’s representatives during any source code
15   review, but only to ensure that there is no unauthorized recording, copying, or
16   transmission of the Designated Code. The Producing Party may not view any
17   notes or writings prepared by the Receiving Party’s representative.
18         32.      All persons viewing source code shall sign and print their names and
19   the date of the inspection in an inspection log on each day they view the
20   Designated Code. The inspection log will be maintained by the Producing Party,
21   and shall be provided to the Receiving Party upon request.
22         33.      The Producing Party shall provide a manifest of the contents of the
23   Source Code Computer. This manifest shall be supplied in both printed and
24   electronic form and shall list the name, version histories, and location (i.e.,
25   filename and filepath) of every source code file on the Source Code Computer.
26         34.      The Source Code Computer shall include software utilities,
27    designated and provided to the Producing Party for installation on the Source
28    Code Computer by the Receiving Party, which allow the Receiving Party’s

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1     representative to view, search, and analyze the source code (“source code review
2     utilities”). At a minimum, the source code review utilities must provide the
3     ability to (a) view, search, and line-number any source code file (i.e., text editors
4     such as notepad++ and sublime text), (b) search for a given pattern of text through
5     a number of files, (c) compare two files and display their differences, (d) compute
6     the MD5 checksum of a file, (e) and any other reasonable requests by the
7     Reviewing Party. To the extent the Receiving Party seeks to use a specific source
8     code review utility that the Producing Party does not have, then the Receiving
9     Party must provide that source code review utility to the Producing Party.
10         35.    The Receiving Party may request paper copies of limited portions of
11   the Designated Code that are reasonably necessary for the preparation of court
12   filings, pleadings, expert reports, or other papers, or for deposition or trial, but
13   shall not request paper copies for the purpose of reviewing the Designated Code
14   other than electronically as set forth in Paragraph 34 in the first instance. The
15   Producing Party shall provide all requested Designated Code in paper form,
16   including bates numbers and the label HIGHLY CONFIDENTIAL-OUTSIDE
17   COUNSEL ONLY-SOURCE CODE. The Producing Party may challenge the
18   amount of Designated Code requested in hard copy form. If, after meeting and
19   conferring, the Producing Party and the Receiving Party cannot resolve the
20   objection, the Parties shall file a joint motion within three (3) business days after
21   the completion of the meet and confer process, and the Parties will request
22   expedited consideration of the motion.
23         36.    The Receiving Party shall maintain a record of any individual who
24   has inspected any portion of the Designated Code in paper form. The Receiving
25   Party shall maintain all paper copies of any printed portions of the Designated
26   Code in a secured, locked area. The Receiving Party shall only make additional
27   paper copies if such additional copies are (1) necessary to prepare court filings,
28   pleadings, or other papers (including a testifying expert's expert report), (2)

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1    necessary for deposition, or (3) otherwise necessary for the preparation of its case.
2    The Receiving Party shall not convert any of the information contained in the
3    paper copies into any electronic format other than for the preparation of a
4    pleading, exhibit, expert report, discovery document, deposition transcript, or
5    other Court document. Any paper copies used during a deposition shall be
6    retrieved by the Producing Party at the end of each day and must not be given to or
7    left with a court reporter or any other unauthorized individual.
8            37.   At the conclusion of the litigation, counsel for each Party will certify
9    on behalf of itself and anyone working with and/or at the direction of counsel or
10   the Party that all copies, electronic or paper, of or containing Designated Code
11   have been returned to the Producing Party, or destroyed or erased in a manner that
12   prevents any forensic recovery of the Designated Code, with the exception of
13   portions of Designated Code that were included in filed or served pleadings or
14   their exhibits, or as exhibits to depositions, or admitted into evidence. Other than
15   as set forth in this subparagraph, counsel may not retain any copies of Designated
16   Code.
17   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
18                                  OTHER LITIGATION
19           38.   If a Receiving Party is served with a subpoena or a court order issued
20   in other litigation that compels disclosure of any information or items designated
21   in this Action as “CONFIDENTIAL, HIGHLY CONFIDENTIAL-OUTSIDE
22   COUNSEL ONLY-SOURCE CODE.” that Party must:
23                       (a) promptly notify in writing the Producing Party. Such
24                       notification shall include a copy of the subpoena or court order;
25                       (b) promptly notify in writing the party who caused the
26                       subpoena or order to issue in the other litigation that some or all
27                       of the material covered by the subpoena or order is subject to
28                       this Protective Order. Such notification shall include a copy of

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1                        this Stipulated Protective Order; and
2                        (c) cooperate with respect to all reasonable procedures sought
3                        to be pursued by the Producing Party whose Protected Material
4                        may be affected.
5          39.     If the Producing Party timely seeks a protective order, the Party
6    served with the subpoena or court order shall not produce any information
7    designated in this action as “CONFIDENTIAL” before a determination by the
8    court from which the subpoena or order issued, unless the Party has obtained the
9    Producing Party’s permission. The Producing Party shall bear the burden and
10   expense of seeking protection in that court of its confidential material and nothing
11   in these provisions should be construed as authorizing or encouraging a Receiving
12   Party in this Action to disobey a lawful directive from another court.
13                 NONPARTY USE OF THIS PROTECTIVE ORDER
14         40.     A nonparty producing information or material voluntarily or pursuant
15   to a subpoena or a court order may designate such material or information in the
16   same manner and shall receive the same level of protection under this Order as any
17   party to this lawsuit, provided that such nonparty complies with the provisions of
18   this Order.
19         41.     A nonparty’s use of this Order to protect its Protected Material does
20   not entitle that nonparty access to any Protected Material produced by any party in
21   this case.
22            RETURN OR DESTRUCTION OF PROTECTED MATERIAL
23         42.     Within sixty (60) days after this action is terminated, either by the
24   entry of a final, non-appealable judgment or order, the complete settlement of all
25   claims asserted against all parties in this action, or by other means, each party
26   shall, at its option, either return to the Producing Party or destroy all Protected
27   Materials which were received from the Producing Party. After ninety (90) days
28   have passed since the termination of this action, a Producing Party may write to

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1    any Receiving Party and request confirmation that any Protected Material
2    produced by the Producing Party and identified as Protected Material not
3    previously returned to the Producing Party have been destroyed. Notwithstanding
4    the foregoing, counsel shall be entitled to maintain copies of all notes, memoranda,
5    and other work product materials, as well as pleadings, motions and trial briefs
6    (including all supporting and opposing papers and exhibits thereto), written
7    discovery requests and responses (and exhibits thereto), deposition transcripts (and
8    exhibits thereto), trial transcripts, and exhibits offered or introduced into evidence
9    at trial. Notwithstanding the provisions of this Paragraph, counsel is not required
10   to delete information that may reside on their electronic disaster recovery systems
11   which are over-written in the normal course of business. However, counsel agree
12   that no Protected Material shall be purposefully retrieved from the electronic
13   disaster recovery systems after the conclusion of the above-captioned matter.
14                           NON-WAIVER OF PRIVILEGE
15         43.    Production of documents (including physical objects) for inspection,
16   or production of copies of documents, shall not constitute a waiver of the attorney-
17   client privilege or work product immunity or any other applicable privilege or
18   immunity from discovery if, after the Producing Party becomes aware of any
19   inadvertent or unintentional disclosure, the Producing Party designates any such
20   documents as within the attorney-client privilege or work product immunity or any
21   other applicable privilege or immunity and requests destruction or return of such
22   documents to the Producing Party identifying the documents(s), the asserted
23   privilege or protection, and the grounds therefor (hereinafter “claw-back”). Upon
24   request by the Producing Party, the Receiving Party shall immediately destroy or
25   return all copies of such inadvertently produced document(s), regardless of
26   whether the Receiving Party agrees with the designation of the documents as
27   protected by the applicable privilege or immunity without making any further use
28   of such documents(s), and shall immediately destroy any notes or other writings

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1    that summarize, reflect or discuss the privileged or protected content of such
2    document(s). The Producing Party shall thereafter put any document designated in
3    this manner onto its privilege log. Nothing herein shall prevent the Receiving
4    Party from challenging the propriety of the attorney-client privilege or work
5    product immunity or other applicable privilege or immunity designation by
6    submitting a written challenge to the Court. However, the Receiving Party may
7    not use the production of the document(s) in question to support the challenge,
8    except as evidence that such production was not inadvertent or unintentional, or to
9    show that the production was not otherwise entitled to the above claw-back
10   provision.
11                    DISCOVERY RULES REMAIN UNCHANGED
12            44.   Nothing herein shall alter or change in any way the discovery
13   provisions of the Federal Rules of Civil Procedure, the Local Rules of the District
14   Court, or the Court’s Scheduling Order. Identification of any individual pursuant
15   to this Order does not make that individual available for deposition or any other
16   form of discovery outside of the restrictions and procedures of the Federal Rules
17   of Civil Procedure, the Local Rules, or the Court’s Scheduling Order. Nothing in
18   this Order shall be construed to require a party to produce or disclose information
19   not otherwise required to be produced under the applicable rules or orders of this
20   Court.
21            45.   Any party is free to use its own Protected Material for any purpose,
22   and no use by the Producing Party shall affect or otherwise act as a waiver with
23   respect to the confidential status of that information.
24                           MISCELLANEOUS PROVISIONS
25            46.   Any of the notice requirements herein may be waived, in whole or in
26   part, but only by a writing signed by (or email sent by) the attorney of record for
27   the party against whom such waiver will be effective.
28   ///

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1          47.   Entering into, producing and/or receiving Protected Material or
2    otherwise complying with the terms of this Order shall not:
3                a.     Operate as an admission by any party that any Protected
4                       Material contains or reflects (or does not contain or reflect)
5                       trade secrets or any other type of confidential or proprietary
6                       information entitled to protection under any applicable laws;
7                b.     Prejudice in any way the rights of any party to object to the
8                       production of documents, electronically stored information and
9                       things it considers not subject to discovery, or operate as an
10                      admission by any party that the restrictions and procedures set
11                      forth herein constitute adequate protection for any particular
12                      information deemed by any party to be Protected Material;
13               c.     Prejudice in any way the rights of any party to object to the
14                      authenticity or admissibility into evidence of any document,
15                      testimony or the evidence subject to this Order;
16               d.     Prejudice in any way the rights of any party to seek a
17                      determination by the Court whether any discovery material or
18                      Protected Material should be subject to the terms of this Order;
19               e.     Prejudice in any way the rights of any party to petition the
20                      Court for a further protective order related to any purportedly
21                      Protected Material;
22               f.     Prejudice in any way the rights of any party to petition the
23                      Court for permission to disclose or use particular Protected
24                      Material more broadly than would otherwise be permitted by
25                      the terms of this Order; or
26               g.     Prevent any party from agreeing to alter or waive the
27                      provisions or protections provided for herein with respect to
28   ///

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1                         any particular discovery material designated as Protected
2                         Material by that party.
3          48.      By entering this Order and limiting the disclosure of information in
4    this case, the Court does not intend to preclude another court from finding that
5    information may be relevant and subject to disclosure in another case. Any person
6    or party subject to this Order who becomes subject to a motion, or any obligation
7    through court order, subpoena, or otherwise to disclose another party’s Protected
8    Material shall promptly notify the Producing Party of the order or request for the
9    disclosure so that the Producing Party may have an opportunity to contest the
10   order or request for the disclosure and be heard on whether that information should
11   be disclosed.
12            49.   In the event that any Protected Material is disclosed to any person or
13   entity that is not, or would not be, permitted to access the Protected Material under
14   this Order, then the disclosing party must immediately upon discovery of such
15   disclosure notify the relevant Producing Party or parties in writing of the
16   disclosure. The disclosing party shall take all reasonable steps to retrieve the
17   disclosed information from any person or entity that is not, or would not be,
18   permitted to access the information under this Order, including requesting the
19   return of all copies of the disclosed information. Such efforts by the disclosing
20   party shall not affect the right of the Producing Party to seek redress against the
21   disclosing party for such improper disclosure.
22            50.   The provisions of this Order shall retroactively apply to any Protected
23   Material obtained by any Party or its counsel prior to entry of this Order by the
24   Court.
25   ///
26   ///
27   ///
28   ///

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1          51.    This Order’s obligations regarding Protected Material survive the
2    conclusion of this case.
3    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
4

5    DATED: June 21, 2017
6
                                              _________________________________
                                                  /S/FREDERICK F. MUMM
7                                                   FREDERICK F. MUMM
                                                United States Magistrate Judge
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1                                       ATTACHMENT A
2

3
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
4                                SOUTHERN DIVISION
5    POWER ANALYTICS                            Case No. 8:16-cv-01955-JAK (FFMx)
     CORPORATION,
6

7                        Plaintiff,

8                v.
9  OPERATION TECHNOLOGY, INC.,
10
   d/b/a ETAP, OSISOFT LLC, and
   SCHNEIDER ELECTRIC USA, INC.,
11
                         Defendants.
12

13         I, ___________________________ state as follows:

14         I reside at                                                          .
15
           My present employer is ______________________________________. My
16

17   present occupation or job description is _______________________________.
18         I have read the Stipulated Protective Order (“Order”) in its entirety and
19
     understand the confidentiality restrictions regarding Protected Materials that are
20

21   exchanged in the matter styled Power Analytics Corp. v. Operation Technology,
22   Inc. et al., Case No. 8:16-cv-01955-JAK-FFM (C.D. Cal.). I agree to comply with
23
     and be bound by the terms of the Order. I solemnly promise that I will not divulge
24

25   any   CONFIDENTIAL,              HIGHLY   CONFIDENTIAL-OUTSIDE        COUNSEL
26   ONLY, or HIGHLY CONFIDENTIAL–OUTSIDE COUNSEL ONLY–SOURCE
27

28
                                               1
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1    CODE information (“Protected Materials”) to persons other than those specifically
2
     authorized by the Order. I understand and acknowledge that failure to comply with
3

4
     the Order could expose me to sanctions and punishment in the nature of contempt.

5          At the termination of this action, I will return or destroy, as directed, any
6
     Protected Material I received and any notes or other documents reflecting any such
7

8    materials.

9          I further agree to submit myself to the authority and jurisdiction of the
10
     United States District Court for the District of Delaware in the event of any
11

12   violation of this agreement or dispute related to the Order that concerns my actions.

13         I state under penalty of perjury under the laws of the United States of
14
     America that the foregoing is true and correct.
15

16

17   Executed on this ___ day of ______________, 201_.
18
     City and State where sworn and signed:
19

20   ___________________________________
21   Printed Name: ________________________________
22

23

24   Signature: ____________________________________
25

26

27

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                                              2
